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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

SOCIAL POSITIONING INPUT SYSTEMS,
LLC,

                     Plaintiff,        C.A. No. 1:23-cv-00861 (MN)
    v.
                                       JURY TRIAL DEMANDED
KINEXON, INC.

                     Defendant.

                   KINEXON, INC.’S BRIEF IN SUPPORT OF
             MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM



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I.       NATURE AND STAGE OF PROCEEDINGS

         On March 16, 2023 Social Positioning Input Systems, LLC filed this lawsuit accusing

Defendant Kinexon, Inc. of infringing U.S. Patent No. 9,261,365. In particular, Social Positioning

accuses Kinexon’s Real Time Location System of infringement. In response, Kinexon files this

Motion to Dismiss for Failure to State a Claim along with its Answer, Affirmative Defenses and

Counterclaims.

II.      SUMMARY OF THE ARGUMENT

         Kinexon moves to dismiss Social Positioning’s Complaint pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure for failure to state a claim. The claims of the asserted patent are

invalid because they are directed to patent-ineligible subject matter under 35 U.S.C. § 101. The

claims of the ’365 Patent are directed to the abstract idea of sharing address information. But

sharing address information is not a technological improvement, an inventive way of applying

conventional technology, or even new. See Callwave Commc'ns, LLC v. at & T Mobility, LCC,

207 F. Supp. 3d 405, 412 (D. Del. 2016) (Andrews, J.) (citing Wireless Media Innovations, LLC

v. Maher Terminals, LLC, 100 F. Supp. 3d 405 (D.N.J. 2015) and finding similar claims directed

to the abstract idea of “monitoring locations, movement, and load status of shipping containers

within a container-receiving yard, and storing, reporting and communicating this information in

various forms through generic computer functions”) (emphasis added).

         The claims of the ’365 Patent are not directed to an improvement in computer functionality.

Rather, they are directed to “the use of conventional or generic technology in a nascent but well-

known environment.” In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir.

2016) (“[H]ere we need to only look to the specification, which describes the [components] as

either performing basic computer functions such as sending and receiving data, or performing




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functions ‘known’ in the art.”). No particular non-conventional component or programming is

either claimed or disclosed. Social Positioning’s patent does no more than describe the basic idea

of sending and receiving information related to addresses without disclosing any novel application

of that idea.

        Instead, the approach for sharing address information described in the ’365 Patent may be

implemented using generic and conventional technology such as “communication protocols or

systems currently existing . . . for wirelessly transmitting data.” ’365 Patent at 7:4-5. Indeed, the

’365 Patent’s specification makes clear that it does not make use of any novel components. Id. at

5:67-6:2 (“[s]uch input devices are standard and currently available on many electronic devices

including portable digital assistants (PDAs) and cellular telephones.”); 6:19-20 (“any other

memory storage that exists currently”); id. at 7:20-21 (“conventional code encryption algorithms

currently in use”); id. at 8:10-12 (“identity detection devices such as biometric devices are common

and are currently widely in use”). Therefore, the ’365 Patent is invalid under 35 U.S.C. § 101 for

failure to claim patent-eligible subject matter.

        Resolving these issues does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating invalid patents, Kinexon respectfully

requests that the Court grant its motion to dismiss for failure to state a claim. FED. R. CIV. P.

12(b)(6).

III.    STATEMENT OF FACTS

        The ’365 Patent, entitled “Device, system and method for remotely entering, storing and

sharing addresses for a positional information device,” issued on February 16, 2016, from an

application filed on September 9, 2009. The applicant contends to have identified and solved

problems associated with GPS devices which store addresses locally. See id. at 1:46-2:25. The




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patent, however, merely implements an abstract idea using conventional components and

communication systems that were known in the prior art.

       Independent claim 1 of the ’365 patent, which is representative, recites:

       1. A method for receiving location information at a positional information device,

       the method comprising:

               sending a request from a requesting positional information device to a server

               for at least one address stored in at least one sending positional information

               device, the request including a first identifier of the requesting positional

               information device;

               receiving at the requesting positional information device, from the server, a

               retrieved at least one address to the requesting positional information device

               wherein the server determines a second identifier for identifying the at least

               one sending positional information device based on the received first

               identifier and retrieves the requested at least one address stored in the

               identified at least one sending positional information device.

Id. at cl. 1.Claim 1 of the ’365 Patent is directed to a method of sharing addresses. Methods for

sharing addresses with GPS devices are generically described in the specification. Id. at 8:23-34

(“system and method for remotely entering, storing and sharing location address information

will be described”) (emphasis added). The embodiments described in the specification center on

sharing address information. See id. at 9:29-32 (“[i]n one embodiment, the customer service center

includes a live operator 303 that has access to server 304 for looking up address information

and transmitting the information to the device”) (emphasis added). The specification also

describes a situation in which “[a] driver of a vehicle needs assistance in locating a point of interest




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such as a museum in a designated city.” Id at 12:27-28. However, the applicant did not provide

any technical details on how information is shared beyond what was known in the prior art.

        In Claim 1, a requesting positional information device “send[s] a request . . . for at least

one address” to a server. The request includes “a first identifier” for identifying the requesting

positional information device. The server obtains the requested address from a “sending positional

information device.” The sending positional information device is identified by a “second

identifier.” The positional information devices are understood to be GPS devices. See id. at

Abstract (“a positional information device, e.g., a global positioning system (GPS) device)

(emphasis added). In other words, Claim 1 recites a generic technique to establish a

communications link between one or more devices and transfer information. No technical details

are disclosed, much less claimed, as to how these processes are accomplished. Claim 1 simply

recites generic and well known hardware components performing standard functions.

IV.     ARGUMENT

        A.      Legal Standard

                1.      This Case Should Be Disposed of Under Rule 12(b)(6)

        Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a complaint

that fails to state a claim upon which relief can be granted. “Dismissal under Rule 12(b)(6) is

proper where the complaint fails to state a claim upon which relief may be granted, such as where

the plaintiff is unable to plead ‘enough facts to state a claim to relief that is plausible on its face.’”

McCracken v. Wells Fargo Bank Na, 634 F. App’x 75, 4 (3d Cir. 2015) (citing Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). Under Rule 12(b)(6), “a complaint should be dismissed if

it ‘fail[s] to state a claim upon which relief can be granted’” Katz v. Healthcare, Civil Action 22-

625-WCB, 2022 WL 16961239, at *3 (D. Del. Nov. 16, 2022) (Bryson, J.) (internal citations




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omitted). Here, “[t]he court must accept the factual allegations in the complaint and take them in

the light most favorable to the non-moving party.” Callwave Commc'ns, LLC v. AT & T Mobility,

LCC, 207 F. Supp. 3d 405, 409 (D. Del. 2016). Conclusory statements are disregarded for purposes

of evaluating a complaint under Rule 12(b)(6). Simio LLC v FlexSim Software Products Inc., 2020

WL 7703014, at *19 (Fed. Cir. Dec. 29, 2020).

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).

               2.      The Law of 35 U.S.C. § 101

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract

ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract intellectual concepts are

not patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting

Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).




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       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

an element or combination of elements that is sufficient to ensure that the patent in practice

amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

limited if it includes only token or insignificant pre- or post-solution activity—such as identifying

a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

at 1297-98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191-92 & n.14

(1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

broad and general limitation does not impose meaningful limits on the claim’s scope.”).

       B.      The ’365 Patent is Invalid Under 35 U.S.C. § 101.

       Social Positioning’s Complaint should be dismissed. The claims of the ’365 Patent are

invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the claims is




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directed to the abstract idea of sharing address information. Abstract ideas are not eligible for

patenting. None of the claims contains an “inventive concept sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the ineligible concept itself.” See Alice,

134 S. Ct. at 2355 (emphasis added). Because Social Positioning has failed to state a claim upon

which relief may be granted, Kinexon respectfully requests that the Court grant its motion and

dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6).

               1.      Alice Step 1: The claims are directed to an abstract idea.

        In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’365 Patent are directed to an unpatentable, abstract idea because they claim nothing

more than the “longstanding,” “routine,” and “conventional” concept of sharing address

information. See Alice, 134 S. Ct. at 2356; Bilski, 561 U.S. at 611.

                       (a)     The ’365 Patent is directed to the abstract idea of sharing
                               address information.

        Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address information.1

Stripped of its generic terminology, the claim conceivably could cover any generic process of

sharing address information. This is especially true given the purely functional nature of the claim

language. For example, Claim 1 could cover the following scenario: (1) requesting an address from

another device via a server (e.g., calling friend Alice to ask for friend Bob’s address); and then (2)



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  Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g., Phoenix Licensing,
L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8-9 (E.D.
Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims”
where the other claims were “substantially similar” and “linked to the same abstract idea.”).Where
claims are “substantially similar and linked to the same abstract idea,” courts may look to
representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014).


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receiving address information from the other device via the server (e.g., Alice providing Bob’s

address). Such a broad concept is not patent eligible because it “recite[s] an abstraction—an idea,

having no particular concrete or tangible form.” Ultramercial, 772 F.3d at 715.

       Furthermore, the applicant’s purported invention is not limited to any particular

implementation. ’365 Patent at 4:16-20 (“it is to be understood the principles of the present

disclosure may be applied to any type of navigation or positional information device including but

not limited to a vehicle-mounted device, a GPS receiver coupled to a desktop computer or laptop,

etc”); id. at 9:25-29 (“Once connected to the customer service center, the user can communicate

with the customer service center with voice communications or with a vehicle user interface (VUI)

including but not limited to keyboard, voice recognition, or mouse or pointer”) (emphasis added)).

The specification, coupled with the broad functional language in Claim 1, confirms that Social

Positioning’s claims do not describe how to implement the allegedly claimed system, much less

how to do so in any non-conventional manner. See Internet Patents Corp. v. Active Network, Inc.,

790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible subject

matter where “[t]he mechanism for maintaining the state is not described, although this is stated

to be the essential innovation”).

       Additionally, the applicant’s own characterizations demonstrate that the claimed

components do not “improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for

example by disclosing an “improved, particularized method of digital data compression,” DDR

Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way

a computer stores and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327,

1339 (Fed. Cir. 2016). For example, in Enfish, the Federal Circuit distinguished the claims from

others that “simply add[ed] conventional computer components to well-known business




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DIRECTV, LLC, 838 F.3d 1253, 1258 (Fed. Cir. 2016) (holding that claims were directed to an

abstract idea where they claimed “the function of wirelessly communicating regional broadcast

content to an out-of-region recipient, not a particular way of performing that function”). And

because the claimed system are to be implemented without the use of any specialized hardware or

software components, the ’365 Patent risks preempting all automated methods or systems for

sharing address information. See, e.g., Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F.

Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . . broad” where “the claims

[were] largely functional in nature, they [did] not provide any significant description of the

particular means by which the various recited functions are performed,” and “[a]ll that [was]

disclosed [was] the ultimate objective”).

                        (b)     Courts have found similar claims to be directed to patent-
                                ineligible subject matter.

        Courts have found similar patent claims to be directed to abstract ideas. Recently, the

Federal Circuit held that “[c]ontrolling access to resources is exactly the sort of process that ‘can

be performed in the human mind, or by a human using a pen and paper,’ which we have repeatedly

found unpatentable.” Ericsson Inc. v. TCL Commc'n Tech. Holdings, 955 F.3d 1317, 1327 (Fed.

Cir. 2020). The claims here are directed to the request and receipt of address information, and are

thus similar to the claims at issue in Ericsson, in that these are precisely the types of activities that

can be performed by a human without computers. For instance, a party could call a first friend and

ask for a second friend’s address. The first friend may retrieve the address, and then provide it the

requesting party. Because this process can be performed in this fashion, the claims of the ’365

Patent are invalid under the same rationale expressed by the Federal Circuit in Ericsson.




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       Additionally, the Federal Circuit has held the following claims directed to various acts of

information or data acquisition and transfer (including, among others, acquiring, analyzing,

sending, receiving, and publishing data) to be directed to abstract ideas under the Alice test:

           •   Claims directed to collecting information, even when such information is of a

               particular type. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed.

               Cir.2016) (emphasis added).

           •   Claims directed to routing information using result-based functional language.

               Two-Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874 F.3d 1329, 1337 (Fed.

               Cir. 2017) (emphasis added);

           •   Claims directed to transmitting information about a mail object over a network

               using a personalized marking, Secured Mail Solutions LLC v. Universal Wilde, Inc.,

               873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis added);

           •   A device used for recording a digital image, storing the digital image, and

               transferring the digital image to a server for further processing, In re TLI

               Commc’ns, 823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).

       Furthermore, patents related to location information have been found to be directed to the

abstract idea of monitoring and communicating information. In Wireless Media Innovations, for

example, the court invalidated two patents for a system and method of “monitoring locations,

movement, and load status of shipping containers within a container-receiving yard, and storing,

reporting and communicating this information in various forms through generic computer

functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract idea, according to the

court, because these general monitoring and recording functions “could be carried out by human

memory, by hand, or by conventional equipment and general purpose computer and printer



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resources.” Id. at 415; see also Joao Control & Monitoring Sys., LLC v. Telular Corp., 173 F.

Supp. 3d 717, 726, 2017 WL 1151052 (N.D. Ill. 2016) (claims found to be “directed to the abstract

idea of monitoring and controlling property and communicating this information through generic

computer functions”); MacroPoint, LLC v. FourKites, Inc., No. 15–cv–1002, 2015 WL 6870118,

at *3 (N.D. Ohio Nov. 6, 2015), aff’d, 671 Fed. Appx. 780 (“directed to the abstract idea of tracking

freight”); Callwave Commc’ns, 207 F.Supp. 3d at 412 (“requesting and receiving location

information is an abstract idea.”).

       The idea underlying Claim 1 of the ’365 Patent is just as abstract as those in the Ericsson,

Two-Way Media, and Wireless Media Innovations claims. As explained earlier, Claim 1 describes

a common human activity that can be performed without a computer or specialized equipment.

Claim 1 does not include any specific limitations or steps regarding a “specific structure” of

computer components used to carry out the abstract idea of sharing address information. Rather,

Claim 1 uses results-based functional language like “sending a request from a requesting positional

information device to a server” and “receiving at the requesting positional information device,

from the server, a retrieved at least one address” ’365 Patent at Cl. 1. Claim 1 is abstract because

it does “not sufficiently describe how to achieve these results in a non-abstract way.” Two-Way

Media, 874 F.3d at 1337 (holding limitations requiring “sending” and “directing” of information

“d[id] not sufficiently describe how to achieve these results in a non-abstract way”). Claim 1

cannot be meaningfully distinguished from the claims in either Ericsson, Two-Way Media, or

Wireless Media Innovations.

               2.      Alice Step 2: The claims do not contain an inventive concept amounting
                       to significantly more than the abstract idea.

       Because Claim 1 is directed to an abstract idea, the Court must next determine whether it

contains an “inventive concept sufficient to transform the claimed abstract idea into a patent



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eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To pass this test,

Claim 1 “must include additional features” that “must be more than well-understood, routine,

conventional activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1 is broadly

generic and does not contain meaningful limitations that would restrict it to a non-routine, specific

application of the abstract idea.

       Although the stated goal of the ’365 Patent is to provide “remotely entering, storing and

sharing location addresses,” ’365 Patent at 2:47-48, not a single technical improvement is

disclosed, much less claimed. Instead, Claim 1 is described only at a high level, consisting of

generic functional language like “sending a request” and “receiving . . . at least one address.” And,

according to the specification, no specialized hardware or software is needed to send and receive

address information. Id. at 8:23; 12:5.

       While the specification purports to describe the structure of an embedded system capable

of sharing address information, nothing in either Claim 1 or the specification discloses how the

“positional information device” must be configured in any manner, much less an inventive one.

Instead, the claim limitations simply list generic hardware without any improvement in

technology. See In re TLI, 87 F. Supp. 3d 773, 794 (holding that a “telephone unit limitation is

another example of generic hardware which does not save Claim 17 because it is not inventive”)

(emphasis added). And the specification fares no better, as the invention is described as “a system

and method of programming GPS units from a link on the Global Computer Network (e.g., the

Internet) is also provided.” ’365 Patent at 2:49-51. GPS units and the Internet are not novel. See

Rothschild Location Techs. LLC v. Geotab USA, Inc., No. 6:15-cv-682, 2016 WL 3584195, at *5,

7 (E.D. Tex. Jan. 4, 2016) (“A GPS device is a well-known generic computer element insufficient




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to make otherwise patent ineligible subject matter patentable.”). Further details are neither claimed

nor disclosed.

       There is simply nothing “inventive” about using known processes (e.g., the Internet and/or

wireless networks) to retrieve address information. See’365 Patent at 9:38-46 (the invention is

“described in the context of the GSM mobile telecommunications standard” but may “relate[] to

all telephone standards including, and not limited to CDMA and US-TDMA”). Moreover, the

abstract functional descriptions in Claim 1 are devoid of any technical explanation as to how to

implement the purported invention in an inventive way. See In re TLI, 823 F.3d at 615 (claims

failed Alice’s step 2 where specification limited its discussion of “additional functionality” of

conventional components “to abstract functional descriptions devoid of technical explanation as

to how to implement the invention”). Nothing in Claim 1 requires any inventive algorithm or data

structure, much less an improved computer component. See Wireless Media Innovations, 100 F.

Supp. 3d 405, 416-417 (“[A]dding a computer to otherwise conventional steps does not make an

invention patent-eligible. Any transformation from the use of computers or the transfer of content

between computers is merely what computers do and does not change the analysis.”).

       Courts have repeatedly held that the presence of generic hardware and processing like the

kind recited in Claim 1 of the ’365 Patent does not make an otherwise abstract idea patent-eligible.

See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer

receives and sends the information over a network—with no further specification—is not even

arguably inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when

“[n]othing in the claims . . . requires anything other than conventional computer and network

components operating according to their ordinary functions”); Wireless Media Innovations, 100 F.

Supp. 3d 405, 416 (finding that the asserted claims “are not tied to any particular novel machine




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or apparatus, only a general purpose computer, general communication devices, and general

vehicles,” and the “specific system elements . . . merely require generic computer functions that

are not inventive.”); Callwave Commc’ns, 207 F. Supp. 3d at 415 (“It is axiomatic that the addition

of a generic computer do not provide an inventive concept.”). In addition, an “abstract idea does

not become nonabstract by limiting the invention to a particular field of use or technological

environment, such as [GPS Units].” Intellectual Ventures I LL v. Capital One Bank U.S.A., 792

F.3d 1363, 1366 (Fed. Cir. 2015).

       This case is thus unlike Berkheimer, where the Federal Circuit noted that the specification

explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly

unconventional manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018). The

Federal Circuit examined whether the improvements described in the specification were included

in the claims. For those claims where the inventive feature in the specification was “captured in

the claims,” the Federal Circuit found a “factual dispute regarding whether the invention

describe[d] well-understood, routine, and conventional activities.” Id. But where the claims did

not recite the purportedly inventive features described in the specification, the Federal Circuit

concluded that they were directed to patent ineligible subject matter under § 101. Id. Here, in

contrast, there is no need for fact discovery at all because neither the claims nor the specification

describes any unconventional components or the use of generic components in some

unconventional manner. The claims therefore fail Alice’s second step because they contain no

inventive features, and no amount of fact discovery can change that.

       The recited limitations—whether considered individually or as an ordered combination—

are insufficient to add “significantly more” to the abstract idea. Because it is altogether devoid of




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any “inventive concept,” Claim 1 of the ’365 Patent is thus patent-ineligible under § 101. See Alice,

134 S. Ct. at 2359-60.

               3.        The remaining claims are dependent on Claim 1 and are also abstract

       The remaining claims of the ’365 Patent relate to the same abstract concept of sending and

receiving information. The only differences are immaterial in the context of a § 101 analysis. For

example, claim 8 adds only conventional components and broad functional language, for e.g., “a

location information module for determining location information of the requesting positional

information device.” Claim 8 is therefore directed to same abstract idea, and there is nothing that

adds significantly more to transform the ineligible concept. Alice, 134 S. Ct. at 2355-2357. The

dependent claims relate to (i) identifying information (dependent claims 2, 6, 9, and 13), (ii) type

of information (dependent claims 3 and 10), and (iii) source and display of information (dependent

claims 4, 5, 7, 11, 12, 14, and 15). But claiming variations related to the type and source of

information is not inventive. So too is the claims’ identification of additional generic

components—particularly because there is no disclosure of how any of the generic components

(e.g., telematics network) must be configured in any “inventive” manner to accomplish the desired

results. See Internet Patents, 790 F.3d at 1348.

       None of these additional features amounts to an inventive feature or renders the claims any

less abstract. Regardless of their form, therefore, all of the claims of the ’365 Patent fail both

prongs of Alice because they are directed to an abstract idea and recite no inventive concept. Alice,

134 S. Ct. at 2355, 2357.

V.     CONCLUSION

       For the foregoing reasons, Kinexon respectfully requests that the Court dismiss Social

Positioning’s Complaint for failure to state a claim upon which relief can be granted. Because

leave to amend would be futile, Kinexon requests dismissal with prejudice.


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Dated: August 30, 2023                FISH & RICHARDSON P.C.

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